     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 1 of 14 PageID #: 1



     Russell S. Briggs
 1   FIBICH, LEEBRON, COPELAND,
     BRIGGS, JOSEPHSON, LLP
 2   1150 Bissonnet Street.
     Houston, TX 77005
 3   rbriggs@fibichlaw.com
     (713) 751-0025
 4
     Catherine G. Nguyen
 5   cnguyen@kaisergornick.com
 6   Lawrence J. Gornick
     lgornick@kaisergornick.com
 7   KAISER GORNICK, LLP
     100 First Street, 25th Floor
 8   San Francisco, CA 94105
     415-857-7431
 9

10

11   Attorneys for Plaintiffs
12
                 UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF TEXAS
13
      JAMES HUDDLESTON, INDIVIDUALLY                       Case No:
14    AND ON BEHALF OF THE ESTATE OF
      PATRICIA HUDDLESTON-BROWNFIELD
15    AND ALL LEGAL BENEFICIARIES;
16                              Plaintiffs,
                                                           ORIGINAL COMPLAINT
17           vs.
                                                           DEMAND FOR JURY TRIAL
18    MALLINCKRODT, INC.
19                              Defendant.
20

21

22          Plaintiff JAMES HUDDLESTON, individually and on behalf of the estate of PATRICIA
     HUDDLESTON-BROWNFIELD and ALL LEGAL BENEFICIARIES (hereinafter “Plaintiffs”)
23
     allege as follows:
24
                                               NATURE OF THE CASE
25
            1.      Decedent        Patricia   Huddleston-Brownfield   (“Mrs.   Huddleston-Brownfield”   or
26
     “Decedent”) had Nephrogenic Systemic Fibrosis (“NSF”). NSF is an incurable, painful, and deadly
27
     disease. Mrs. Huddleston-Brownfield contracted NSF as a result of receiving intravenous injections of
28
                                              - 1 -
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 2 of 14 PageID #: 2




 1   gadolinium-based contrast agents manufactured by the Defendant. Gadolinium-based contrast agents

 2   are not safe for use in individuals such as Decedent who have impaired kidney function. Defendant

 3   represented that the gadolinium-based contrast agents were safe and failed to warn of the risks

 4   associated with gadolinium-based contrast agents.

 5                                      JURISDICTION AND VENUE

 6          2.      This Court has jurisdiction pursuant to 28 USC § 1332. Plaintiffs are citizens of a state

 7   that is different from the states where Defendant is incorporated and have their respective principal

 8   places of business. The amount in controversy for this case exceeds $75,000. Venue pursuant to
 9   28 USC § 1391(b) is proper because Defendant has sufficient contacts within the Polk County Texas
10   to subject each of them to personal jurisdiction.
11                                                  PARTIES

12          Plaintiffs

13          1.      PATRICIA HUDDLESTON-BROWNFIELD (“Decedent”) was a resident of the State

14   of Texas in Polk County until her death.

15          2.      Plaintiff JAMES HUDDLESTON, the son, heir, and executor the estate of Decedent, is

16   a resident of the State of Texas in Polk County

17          Defendant

18          3.      Defendant Mallinckrodt, Inc. manufactures, markets, and sells OptiMARK, a

19   gadolinium-based contrast agent that, on information and belief, was injected into Decedent.

20          4.      Defendant Mallinckrodt, Inc. is a Delaware corporation with its principal place of

21   business in Missouri.

22          5.      At all times relevant to this complaint, Mallinckrodt was in the business of designing,

23   licensing, manufacturing, distributing, selling, marketing, promoting, and introducing OptiMARK into

24   interstate commerce.

25                                                       FACTS

26          6.      Decedent had NSF.

27          7.      NSF is predominantly characterized by discoloration, thickening, tightening, and

28   swelling of the skin after receiving a gadolinium-based contrast agent injection. These fibrotic and
                                                - 2 -
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 3 of 14 PageID #: 3




 1   edematous changes produce muscular weakness and inhibit flexion and extension of joints, resulting in

 2   contractures. NSF often progresses to painful inhibition of the ability to use the arms, legs, hands,

 3   feet, and other joints. The skin changes that begin as darkened patches or plaques progress to a

 4   “woody” texture and are accompanied by burning, itching, or severe pain in the areas of involvement.

 5   NSF also progresses to a fibrotic or scarring condition of other body organs such as the lungs, heart,

 6   liver, and musculature, and that can inhibit their ability to function properly and may lead to death.

 7   NSF is a progressive disease for which there is no known cure.

 8          8.      NSF is a man-made disease. It only occurs in patients who have received a gadolinium-
 9   based contrast agent.
10          9.      Gadolinium is a highly toxic heavy metal. It does not occur naturally in the human
11   body. The only known route for gadolinium to enter the human body is injection of a gadolinium-
12   based contrast agent.
13          10.     Because gadolinium is toxic, it has to be coated to keep it from coming in contact with
14   human tissue when injected. This coating process is called chelation.
15          11.     Gadolinium is eliminated from the body by the kidneys. Gadolinium-based contrast
16   agents are not safe if the chelate separates from the gadolinium, which is what happens over time if
17   kidneys are not functioning properly. Individuals with impaired kidney function risk dechelation, and
18   cannot efficiently or quickly eliminate gadolinium from their bodies. Defendant never tested the

19   safety of their gadolinium-based contrast agents in individuals with kidney impairment.

20          12.     On information and belief, the gadolinium-based contrast agents injected into Decedent

21   were manufactured by Defendant.

22          13.     In pre-clinical studies during which gadolinium-based contrast agents were injected into

23   laboratory animals, consistent patterns of toxicity including nephrogenic fibrotic changes in the

24   kidneys and other body organs occurred.

25          14.     During the years that Defendant has manufactured, marketed, distributed, sold, and

26   administered gadolinium-based contrast agents, there have been numerous case reports, studies,

27   assessments, papers, and other clinical data that have described and/or demonstrated NSF in

28   connection with the use of gadolinium-based contrast agents.
                                                - 3 -
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 4 of 14 PageID #: 4




 1          15.     Decedent received MRIs and/or MRAs utilizing gadolinium-based contrast agents.

 2          16.     Decedent had impaired kidney function at the time he received her first injection of

 3   gadolinium-based contrast agent and continued to have impaired kidney function at the time she

 4   received each subsequent injection of gadolinium-based contrast agent.

 5          17.     During the time period when Decedent received injections of Defendant’s gadolinium-

 6   based contrast agents, Defendant knew or should have known that the use of gadolinium-based

 7   contrast agents created a risk of serious bodily injury and death in patients with impaired kidney

 8   function.
 9          18.     Defendant failed to warn Decedent and her healthcare providers about the serious
10   health risks associated with gadolinium-based contrast agents, and failed to disclose the fact that there
11   were safer alternatives.
12          19.     As a direct and proximate result of receiving injections of gadolinium-based contrast
13   agents manufactured, marketed, distributed, and sold by Defendant, Decedent developed NSF.
14          20.     Defendant has repeatedly and consistently failed to advise consumers and/or their
15   healthcare providers of the causal relationship between gadolinium-based contrast agents and NSF in
16   patients with kidney impairment. Defendant knew or should have known of the risk of NSF posed by
17   gadolinium-based contrast agents to individuals with impaired kidney function years before they
18   finally issued warnings.

19          21.     It was not until September 2007 that Mallinckrodt, along with three other

20   manufacturers of gadolinium-based contrast agents, finally sent letters to healthcare providers warning

21   them of the risk of NSF to kidney-impaired individuals who received MRIs using gadolinium-based

22   contrast agents.

23          22.     Had Decedent and/or her healthcare providers been warned about the risks associated

24   with gadolinium-based contrast agents, she would not have been administered gadolinium-based

25   contrast agents and would not have been afflicted with NSF.

26          23.     As a direct and proximate result of Decedent being administered gadolinium-based

27   contrast agents, she suffered severe physical injury and pain and suffering, including, but not limited

28   to, the effects of NSF and death.
                                              - 4 -
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 5 of 14 PageID #: 5




 1          24.     As a direct and proximate result of being administered gadolinium-based contrast

 2   agents, Decedent and Plaintiffs suffered significant mental anguish and emotional distress and

 3   Plaintiffs will continue to suffer significant mental anguish and emotional distress in the future.

 4          25.     As a direct and proximate result of being administered gadolinium-based contrast

 5   agents, Decedent and Plaintiffs have also incurred medical expenses and other economic damages.

 6

 7                       DISCOVERY RULE & FRAUDULENT CONCEALMENT
 8
            26.     The discovery rule should be applied to toll the running of the statute of limitations
 9
     until Plaintiffs knew or through the exercise of reasonable care and diligence should have known of
10
     the existence of their claims against Defendant. The nature of Decedents’ injuries and damages, and
11
     their relationship to gadolinium-based contrast agents used in conjunction with MRIs and MRAs, was
12
     not discovered, and through reasonable care and due diligence could not have been discovered, by
13
     Plaintiffs, until a time less than two years before the filing of this Complaint. It was not until January
14
     2013 that Plaintiffs learned Decedent’s previously misdiagnosed skin condition was actually NSF.
15
     Therefore, under appropriate application of the discovery rule, Plaintiffs’ suit was filed well within the
16
     applicable statutory limitations period.
17
            27.     Defendant is estopped from asserting a statute of limitations defense because all
18
     Defendant fraudulently concealed from Plaintiffs the nature of Plaintiffs’ injury and the connection
19
     between the injury and all Defendant’ tortious conduct.
20
                                       FIRST CAUSE OF ACTION
21                               STRICT LIABILITY: FAILURE TO WARN
22          28.     Plaintiffs incorporate by reference and reallege each paragraph set forth above.
23          29.     Defendant’s gadolinium-based contrast agents, and MRI and MRA machines designed
24   to be used in conjunction with gadolinium-based contrast agents, were defective due to inadequate
25   warnings or instruction for use, both prior to marketing and post-marketing. Defendant knew or
26   should have known that their products created significant risks of serious bodily harm and death to
27   consumers. Defendant failed to adequately warn consumers and their healthcare providers of such
28
                                              - 5 -
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 6 of 14 PageID #: 6




 1   risks.

 2            30.   Because of Defendant’s failure to provide adequate warnings with their products,

 3   Decedent was injected with gadolinium-based contrast agents that the Defendant manufactured,

 4   designed, sold, supplied, marketed or otherwise introduced into the stream of commerce. Those

 5   gadolinium-based contrast agents are the legal cause of Decedent’s physical injuries, harm, damages,

 6   economic loss and death, and of the damages of Plaintiff as set forth below.

 7

 8                                   SECOND CAUSE OF ACTION
 9                               STRICT LIABILITY: DESIGN DEFECT
              31.   Plaintiffs incorporate by reference and reallege each paragraph set forth above.
10
              32.   Defendant is the manufacturer, designer, distributor, seller, or supplier of gadolinium-
11
     based contrast agents, and MRI and MRA machines designed to be used in conjunction with
12
     gadolinium-based contrast agents.
13
              33.   The gadolinium-based contrast agent manufactured and supplied by Defendant was
14
     defective in design or formulation in that, when they left the hands of the Defendant, the foreseeable
15
     risks of the products exceeded the benefits associated with their design or formulation, or were more
16
     dangerous than an ordinary consumer would expect.
17
              34.   The foreseeable risks associated with the design or formulation of gadolinium-based
18
     contrast agent, and MRI and MRA machines designed to be used in conjunction with gadolinium-
19
     based contrast agents, include, but are not limited to, the fact that the design or formulation of
20
     gadolinium-based contrast agents are more dangerous than a reasonably prudent consumer would
21
     expect when used in an intended or reasonably foreseeable manner.
22
              35.   As a direct and proximate result of Decedent being administered gadolinium-based
23
     contrast agent as manufactured, designed, sold, supplied, marketed, and introduced into the stream of
24
     commerce by Defendant, Decedent suffered physical injuries, harm, damages, economic loss and
25
     death, and Plaintiffs suffered and continue to suffer such harm, damages and economic loss.
26

27                                  THIRD CAUSE OF ACTION
                        STRICT LIABILITY: FAILURE TO ADEQUATELY TEST
28
                                              - 6 -
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 7 of 14 PageID #: 7




 1          36.       Plaintiffs incorporate by reference and reallege each paragraph set forth above.

 2          37.       Defendant advised consumers and the medical community that gadolinium-based

 3   contrast agents were safe for use. Defendant failed to adequately test gadolinium-based contrast

 4   agents with respect to their use by consumers with kidney impairment.

 5          38.       Had Defendant adequately tested the safety of gadolinium-based contrast agents for use

 6   by consumers with kidney impairment and disclosed those results to the medical community or the

 7   public, Decedent would not have been administered gadolinium-based contrast agents.

 8          39.       As a direct and proximate result of Defendant’ failure to adequately test the safety of
 9   gadolinium-based contrast agents and as a direct and proximate result of Decedent being administered
10   gadolinium-based contrast agents as manufactured, designed, sold, supplied, marketed, and introduced
11   into the stream of commerce by Defendant, Decedent suffered physical injuries, harm, damages,
12   economic loss and death, and Plaintiffs suffered and continue to suffer such harm, damages and
13   economic loss.
14                                       FOURTH CAUSE OF ACTION
                                              NEGLIGENCE
15
            40.       Plaintiffs incorporate by reference and reallege each paragraph set forth above.
16
            41.       Defendant had a duty to exercise reasonable care in the design, formulation, testing,
17
     manufacture, labeling, marketing, sale and/or distribution of gadolinium-based contrast agents and the
18
     MRI and MRA machines designed to be used in conjunction with gadolinium-based contrast agents.
19
     In particular, they had a duty to assure that their products did not pose an unreasonable risk of bodily
20
     harm and adverse events.
21
            42.       Defendant failed to exercise reasonable care in the design, formulation, manufacture,
22
     sale, testing, marketing, or distribution of gadolinium-based contrast agents and the MRI and MRA
23
     machines designed to be used in conjunction with gadolinium-based contrast agents in that they knew
24
     or should have known that the products could cause significant bodily harm or death and were not safe
25
     for use by certain types of consumers.
26
            43.       Defendant failed to exercise ordinary care in the labeling of gadolinium-based contrast
27
     agents and the labeling of MRI and MRA machines designed to be used in conjunction with
28
                                                - 7 -
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 8 of 14 PageID #: 8




 1   gadolinium-based contrast agents and failed to issue to consumers and their health care providers

 2   adequate warnings concerning the risks of serious bodily injury or death due to the use of gadolinium-

 3   based contrast agents and the MRI and MRA machines designed to be used in conjunction with

 4   gadolinium-based contrast agents.

 5          44.     Despite the fact that Defendant knew or should have known that gadolinium-based

 6   contrast agents and the MRI and MRA machines designed to be used in conjunction with gadolinium-

 7   based contrast agents posed a serious risk of bodily harm to consumers, Defendant unreasonably

 8   continued to manufacture and market gadolinium-based contrast agents and the MRI and MRA
 9   machines designed to be used in conjunction with gadolinium-based contrast agents for administration
10   to MRI and MRA patients with kidney impairment and failed to exercise reasonable care with respect
11   to post-sale warnings and instructions for safe use.
12          45.     At all relevant times, it was foreseeable to Defendant that consumers like Decedent
13   would suffer injury as a result of their failure to exercise ordinary care as described above.
14          46.     As a direct and proximate result of Defendant’s negligence, Decedent suffered physical
15   injuries, harm, damages, economic loss and death, and Plaintiffs suffered and continue to suffer such
16   harm, damages and economic loss.
17          47.     The foregoing acts, conduct and omissions of Defendant were vile, base, willful,
18   malicious, wanton, oppressive, and fraudulent, and were done with a conscious disregard for the

19   health, safety, and rights of Decedent and other users of Defendant’ products, and for the primary

20   purpose of increasing Defendant’ profits. As such, Plaintiffs are entitled to exemplary damages.

21                                    FIFTH CAUSE OF ACTION
                                   NEGLIGENT MISREPRESENTATION
22
            48.     Plaintiffs incorporate by reference and reallege each paragraph set forth above.
23
            49.     Defendant supplied the public and Decedent’s healthcare providers with materially
24
     false and incomplete information with respect to the safety of their gadolinium-based contrast agents.
25
            50.     The false information supplied by Defendant was that gadolinium-based contrast agents
26
     were safe.
27
            51.     In supplying this false information, Defendant failed to exercise reasonable care.
28
                                              - 8 -
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 9 of 14 PageID #: 9




 1          52.     The false information communicated by Defendant to Decedent and her healthcare

 2   providers was material and Decedent justifiably relied in good faith on the information to her

 3   detriment.

 4          53.     As a direct and proximate result of Defendant’s misrepresentations, Decedent was

 5   administered gadolinium-based contrast agents and Decedent suffered physical injuries, harm,

 6   damages, economic loss and death, and Plaintiffs suffered and continue to suffer such harm, damages,

 7   and economic loss.

 8
 9                                        SIXTH CAUSE OF ACTION
10                                                FRAUD
            54.     Plaintiffs incorporate by reference and reallege each paragraph set forth above.
11
            55.     Defendant knowingly and intentionally made materially false and misleading
12
     representations to Decedent’s healthcare providers and to the public, to the effect that gadolinium-
13
     based contrast agents were safe for use and that their labeling, marketing, and promotional materials
14
     fully described all known risks associated with their product.
15
            56.     Defendant’ representations were in fact false. Gadolinium-based contrast agents are not
16
     safe for use and Defendant’ labeling, marketing, and promotional materials did not fully describe all
17
     known risks of the products.
18
            57.     Defendant had actual knowledge that gadolinium-based contrast agents created an
19
     unreasonable risk of serious bodily injury and death to consumers, especially patients with kidney
20
     impairment.
21
            58.     Defendant knowingly and intentionally omitted their information from their labeling,
22
     marketing, and promotional materials and instead, labeled, promoted, and marketed their products as
23
     safe for use in order to increase and sustain sales.
24
            59.     When Defendant made representations that gadolinium-based contrast agents were safe
25
     for use, they knowingly and intentionally concealed and withheld from Decedent, her healthcare
26
     providers, and the public, the fact that their gadolinium-based contrast agents are not safe for use in
27
     consumers with kidney impairment.
28
                                               - 9 -
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 10 of 14 PageID #: 10




 1           60.     Defendant had a duty to disclose that gadolinium-based contrast agents are not safe for

 2    use in patients with kidney impairment. Defendant had superior knowledge of these facts that were

 3    material to Decedent and her healthcare providers’ decisions to use gadolinium-based contrast agents.

 4           61.     Decedent and her healthcare providers reasonably and justifiably relied on the

 5    Defendant’ representations that gadolinium-based contrast agents were safe for human use and that

 6    Defendant’ labeling, marketing, and promotional materials fully described all known risks associated

 7    with the products.

 8           62.     Decedent did not know and could not have learned of the facts that the Defendant
 9    omitted and suppressed. The facts suppressed and concealed by the Defendant are material. Had
10    Decedent and her healthcare providers known that gadolinium-based contrast agents are not safe for
11    use in patients with renal insufficiency, Decedent would not have been injected with gadolinium-based
12    contrast agents.
13           63.     As a direct and proximate result of Defendant’s misrepresentations and concealment,
14    Decedent was administered gadolinium-based contrast agents, suffered physical injuries, harm,
15    damages, economic loss and death, and Plaintiffs suffered and continue to suffer such harm, damages
16    and economic loss.
17           64.     The foregoing acts, conduct, and omissions of Defendant were vile, base, willful,
18    malicious, wanton, oppressive, and fraudulent, and were done with a conscious disregard for the

19    health, safety, and rights of Decedent and other users of Defendant’s products, and for the primary

20    purpose of increasing Defendant’ profits. As such, Plaintiffs are entitled to exemplary damages.

21                                  SEVENTH CAUSE OF ACTION
                               FRAUD: CONCEALMENT, SUPPRESSION OR
22
                                   OMISSION OF MATERIAL FACTS
23           65.     Plaintiffs incorporate by reference and reallege each paragraph set forth above.
24           66.     Defendant omitted, suppressed, or concealed material facts concerning the dangers and
25    risk associated with the use of their gadolinium-based contrast agents, including but not limited to the
26    risks to patients with kidney impairment of developing NSF, and the fact that safer alternatives were
27    available. Further, Defendant purposely downplayed and understated the serious nature of the risks
28
                                              - 10 -
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 11 of 14 PageID #: 11




 1    associated with use of their gadolinium-based contrast agents in order to increase and sustain sales.

 2            67.    As a direct and proximate result of Defendant’s concealment of material facts,

 3    Decedent was administered gadolinium-based contrast agents, suffered physical injuries, harm,

 4    damages, economic loss and death, and Plaintiffs suffered and continue to suffer such harm, damages

 5    and economic loss.

 6            68.    The foregoing acts, conduct, and omissions of Defendant were vile, base, willful,

 7    malicious, wanton, oppressive, and fraudulent, and were done with a conscious disregard for the

 8    health, safety, and rights of Decedent and other users of Defendant’s products, and for the primary
 9    purpose of increasing Defendant’ profits. As such, Plaintiffs are entitled to exemplary damages.
10                                     EIGHTH CAUSE OF ACTION
                                     BREACH OF EXPRESS WARRANTY
11
              69.    Plaintiffs incorporate by reference and reallege each paragraph set forth above.
12
              70.    Defendant expressly warranted that gadolinium-based contrast agents were safe and
13
      effective.
14
              71.    The gadolinium-based contrast agents manufactured and sold by Defendant did not
15
      conform to these express representations because they cause serious injury to consumers when
16
      administered in recommended dosages.
17
              72.    As a direct and proximate result of Defendant’s breach of warranty, Decedent suffered
18
      physical injuries, harm, damages, economic loss and death, and Plaintiffs suffered and continue to
19
      suffer such harm, damages and economic loss.
20

21                                      NINTH CAUSE OF ACTION
                                     BREACH OF IMPLIED WARRANTY
22
              73.    Plaintiffs incorporate by reference and reallege each paragraph set forth above.
23
              74.    At the time Defendant designed, manufactured, marketed, sold, and distributed
24
      gadolinium-based contrast agents, Defendant knew of the use for which gadolinium-based contrast
25
      agents was intended and impliedly warranted the product to be of merchantable quality and safe for
26
      such use.
27
              75.    Decedent reasonably relied upon the skill and judgment of Defendant as to whether
28
                                              - 11 -
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 12 of 14 PageID #: 12




 1    gadolinium-based contrast agents were of merchantable quality and safe for their intended use and

 2    upon Defendant’ implied warranty as to such matters.

 3           76.      Contrary to such implied warranty, gadolinium-based contrast agents were not of

 4    merchantable quality or safe for their intended use because the product was unreasonably dangerous as

 5    described above.

 6           77.      As a direct and proximate result of Defendant’s breach of warranty, Decedent suffered

 7    physical injuries, harm, damages, economic loss and death, and Plaintiffs suffered and continue to

 8    suffer such harm, damages and economic loss.
 9                           TENTH CAUSE OF ACTION
       VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES CONSUMER PROTECTION
10
                                      ACT
11           78.      Plaintiffs incorporate by reference and reallege each paragraph set forth above.
12           79.      Defendant has engaged in unfair competition or unfair or deceptive acts or practices in
13    violation of Tex. Bus. & Com. Code Ann. §§ 17 et seq. including but not limited to the following:
14                 a. Marketing, promoting or selling OptiMark for use with MRAs and other off-label uses
15    by impliedly representing that such products are approved for use with MRAs and other off-label uses,
16    when in fact there is no such approval;
17                 b. Representing that gadolinium-based contrast agents are safe and effective for all
18    patients, including patients with kidney impairment, when in fact they are not;
19                 c. Representing that MRIs and MRAs using gadolinium-based contrast agents are safer or
20    more effective than other imaging methods that do not require the use of gadolinium-based contrast
21    agents when in fact they are not;
22                 d. Marketing, promoting, or selling their products as safer or superior to other brands of
23    gadolinium-based contrast agents;
24                 e. Marketing, promoting or selling OptiMark as inert or with words to that effect;
25                 f. Marketing, promoting or selling OptiMark for use with MRAs or other off-label uses by
26    expressly or impliedly representing that they are safe for such use; and
27

28
                                               - 12 -
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 13 of 14 PageID #: 13




 1                    g. Remaining silent despite their knowledge of the growing body of evidence regarding

 2    the danger of NSF and doing so because the prospect of huge profits outweighed health and safety

 3    issues.

 4              80.      As a direct and proximate result of Defendant’s unfair methods of competition and

 5    unfair or deceptive actions or practices, Decedent was administered gadolinium-based contrast agents,

 6    suffered physical injuries, harm, damages, economic loss and death, and Plaintiffs suffered and

 7    continue to suffer such harm, damages and economic loss.

 8                                        ELEVENTH CAUSE OF ACTION
                                              WRONGFUL DEATH
 9
                81.      Plaintiffs incorporate by reference and reallege each paragraph set forth above.
10
                82.      As a proximate result of the conduct of Defendant, as described above, Decedent
11
      suffered from death, personal injuries and other economic and non-economic damages.
12
                83.      Pursuant to Tex. Civ. Prac. & Rem. Code Ann. §71.002 and all applicable Texas law,
13
      Plaintiff JAMES HUDDLESTON pursues a wrongful death action on behalf of all legal beneficiaries
14
      for recovery of all damages permitted under Texas law.
15
                                            TWELTH CAUSE OF ACTION
16
                                                  SURVIVAL ACTION
17
                84.      Plaintiffs incorporate by reference and reallege each paragraph set forth above.
18
                85.      PATRICIA HUDDLESTON-BROWNFIELD, had she lived, would have had causes of
19
      action against Defendant as alleged above.
20
                86.      As a proximate result of the conduct of Defendant as described above, PATRICIA
21
      HUDDLESTON-BROWNFIELD suffered personal injuries, pain, suffering, and other damages.
22
                87.      Pursuant to Tex. Civ. Prac. & Rem. Code § 71.021 governing survival claims and all
23
      applicable Texas law, Defendant are liable for damages to JAMES BROWNFIELD individually and
24
      on behalf of the Estate of PATRICIA HUDDLESTON-BROWNFIELD.
25
                WHEREFORE, Plaintiffs pray for relief as follows:
26
                1.       Compensatory damages in excess of the jurisdictional amount, including, but not
27
      limited to pain, suffering, emotional distress, loss of enjoyment of life, and other non-economic
28
                                                  - 13 -
                                COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 9:14-cv-00180-MHS Document 1 Filed 12/24/14 Page 14 of 14 PageID #: 14




 1    damages in an amount to be determined at trial of this action;

 2            2.      Past and future medical expenses, income, and other economic damages in an amount

 3    to be determined at trial of this action;

 4            3.      Punitive damages in an amount to be determined at trial of this action;

 5            4.      Pre- and post-judgment interest;

 6            5.      Attorneys’ fees, expenses, and costs; and

 7            6.      Such further relief as this Court deems necessary, just, and proper.

 8
 9                                                DEMAND FOR JURY TRIAL

10            Plaintiffs hereby demand a trial by jury.

11

12            Respectfully submitted this on the 24th day of December, 2014.

13

14                                    By:
15                                            Russell S. Briggs
                                              Fibich, Leebron, Copeland, Briggs, Josephson, LLP
16                                            1150 Bissonnet Street.
                                              Houston, TX 77005
17                                            Texas Bar No. 02987720
                                              rbriggs@fhl-law.com
18                                            (713)751-0025
19                                            Catherine G. Nguyen
                                              CA Bar No. 263432
20                                            cnguyen@kaisergornick.com
                                              Lawrence J. Gornick
21                                            CA Bar No. 136290
                                              lgornick@kaisergornick.com
22
                                              Kaiser Gornick LLP
23                                            100 First Street, 25th Floor
                                              San Francisco, CA 94105
24                                            415-857-7431

25

26
                                              Attorneys for Plaintiffs
27                                            JAME HUDDLESTON, Individually, and on Behalf of the
                                              Estate of PATRICIA HUDDLESTON-BROWNFIELD
28
                                               - 14 -
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
